           Case 1:10-cr-00080-DAD-BAM Document 36 Filed 05/26/10 Page 1 of 3


1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    FRANCINE ZEPEDA, Bar #091175
     Assistant Federal Defender
3    PEGGY SASSO, Bar #228906
     Assistant Federal Defender
4    Designated Counsel for Service
     2300 Tulare Street, Suite 330
5    Fresno, California 93721-2226
     Telephone: (559) 487-5561
6
     Attorneys for Defendant
7    Gregory Burns Snyder
8
9
                                  IN THE UNITED STATES DISTRICT COURT
10
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                       )   NO. 1:10-cr-00080 AWI
                                                     )
13                         Plaintiff,                )   STIPULATION TO CONTINUE STATUS
                                                     )   CONFERENCE HEARING;
14          v.                                       )   ORDER
                                                     )
15   GREGORY BURNS SNYDER ,                          )
                                                     )   Date: July 26, 2010
16                         Defendant.                )   Time: 9:00 a.m.
                                                     )   Judge: Honorable Anthony W. Ishii
17                                                   )
18          IT IS HEREBY STIPULATED by and between the parties hereto, through their respective counsel
19   of record herein, that the Status Conference in the above captioned matter, now scheduled for June 7,
20   2010, may be continued to July 26, 2010, at 9:00 a.m.
21          The reason for this continuance is that there has been technical difficulty in reproducing the
22   discovery and all the electronic discovery has not yet been provided. According to Maximus, counsel can
23   expect to have the first twenty CD/DVDs on Friday, May 28, 2010. There will be forty-seven CD/DVDs to
24   follow which are not in the correct format to allow production at this time. The continuance is requested
25   to allow counsel for defendants time to review the discovery once it has been reproduced. The requested
26   continuance will conserve time and resources for both counsel and the court.
27   ///
28   ///
              Case 1:10-cr-00080-DAD-BAM Document 36 Filed 05/26/10 Page 2 of 3


1              The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice herein and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and
3    3161(h)(8)(B)(I) and (iv).
4                                                                    BENJAMIN B. WAGNER
                                                                     United States Attorney
5
6    Dated: May 25, 2010                                            /s/ Laurel J. Montoya
                                                                    LAUREL J. MONTOYA
7                                                                   Assistant United States Attorney
                                                                    Attorney for Plaintiff
8
9                                                                    DANIEL J. BRODERICK
                                                                     Federal Defender
10
11   Dated: May 25, 2010                                            /s/ Francine Zepeda
                                                                    FRANCINE ZEPEDA
12                                                                  PEGGY SASSO
                                                                    Assistant Federal Defender
13                                                                  Attorneys for Defendant
                                                                    Gregory Burns Snyder
14
15
     Dated: May 25, 2010                                            /s/ Daniel Alex Bacon
16                                                                  DANIEL A. BACON
                                                                    Attorney for Defendant
17                                                                  Gregorio Olmos, Sr.
18
     Dated: May 25, 2010                                            /s/ David Vahe Balakian
19                                                                  DAVID V. BALAKIAN
                                                                    Attorney for Defendant
20                                                                  Gregorio Olmos, III
21
     Dated: May 25, 2010                                            /s/ Peter S. Christiansen,
22                                                                  PETER S. CHRISTIANSEN
                                                                    Attorney for Defendant
23                                                                  Wayne Matthew Harriman
24
     Dated May 25, 2010                                             /s/ Eric D. Shevin
25                                                                  ERIC D. SHEVIN
                                                                    Attorney for Defendant
26                                                                  Yong Tae Kim
27   ///
28   ///

     Stipulation to Continue Status
     Conference Hearing; [Proposed] Order                  -2-
              Case 1:10-cr-00080-DAD-BAM Document 36 Filed 05/26/10 Page 3 of 3


1                                                    ORDER
2              IT IS SO ORDERED. Status Conference to be held July 26, 2010, at 9:00 a.m.
3    Time is excluded pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and 3161 (h)(8)(B)(i)and (iv)
4
5    IT IS SO ORDERED.
6    Dated:         May 26, 2010                      /s/ Anthony W. Ishii
     0m8i78                                  CHIEF UNITED STATES DISTRICT JUDGE
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Stipulation to Continue Status
     Conference Hearing; [Proposed] Order               -3-
